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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES
v. No. l 6-mc-9l 064-ADB

UNDER SEAL
MARTIN GOTTESFELD

JOINT NOTICE REGARDING EXCLUDED TIME
UNDER THE SPEEDY TRIAL ACT

The United States files this joint notice of the parties to correct a prior misclaculation of
excluded time under the Speedy Trial Act. Specifically, the parties did not account for an
additional 10 days of excluded time under 18 U.S.C. § 316l(h)(l)(F) while the Defendant was
transported from the Souther District of Florida to the District of Massachsuetts. The parties are
not requesting any action by the Court at this time, but provide the notice simply to correct the
record regarding excluded time under the Speedy Trial Act. The parties have conferred regarding
this matter and provide a corrected Speedy Trial clock clauclation below:

l. On February 17, 2016, Martin Gottesfeld was arrested in Miami, Florida on the
charge of conspiracy to damage computers (in violation of 18 U.S.C. § 371), set out in a criminal
complaint, Um'tea' States v. Martin Gottesfela', No. 16-MJ -41 l7-MBB. Gottesfeld made his initial
appearance in U.S. District Court of the Southem District of Florida on February l7.

2. The Defendant waived a detention, removal, and probable cause hearing and was
remanded to the custody of the U.S. Marshals for transportation to the District of Massachusetts.

He made his initial appearance in the District of Massachusetts on April 6, 2016,

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3. Under the Speedy Trial Act, “[a]ny information or indictment charging the
commission of an offense shall be filed within thirty days from the date on which such individual
was arrested or served with a summons in connection with the charges.” 18 U.S.C. § 316l(b).

4. Under 18 U.S.C. § 3161(h)(1)(F), up to 10 days’ delay “resulting from the
transportation of any defendant from another district” is “excluded in computing the time within
which an information or an indictment must be tiled.” Accordingly, the 10 days from February 18
through and including February 27, 2016, were excluded from the time by which an Information
or Indictment had to be tiled.

5. Therefore, any information or indictment would have initially needed to be filed by
March 28, 2016. The parties previously calculated this date incorrectly as March 18, 2016,

6. The Court granted the parties’ requests to exclude from the 30-day clock the period
from March 18 through October 9, 2016. Accordingly, the government presently has until October

20, 2016 to file an information or indictment in this matter.

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7. Finally, the government previously stated that it did not intend to seek further
exclusions from the 30-day clock to tile an information or indictment Since that time, the
Defendant has made statements to the press regarding his involvement in the charged conduct that
could materially affect the Defendant’s decision of whether to proceed by indictment and
ultimately to trial. Defense counsel is discussing the matter with the Defendant. Because of these
developments, the parties may jointly seek a further exclusion, but do not seek one at this time.

Respectfully submitted,

CARMEN M. ORTIZ
UNITED STATES ATT

 
 
   
  

By:
Adam J`. Bo kbinder
David J. D’Addio
Assistant U.` . Atto ys
CERTIFICATE OF SERVICE

l hereby certify that a copy of this sealed pleading was served by e-mail on Tor

Ekeland, counsel for l\/lartin Gottesfeld.

 

 

Dated: September 22, 2016

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